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6
     Attorneys for Defendant
7    PHILLIPS 66 COMPANY

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9                                  UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11

12   DEAN A. ROBBINS,                                  )   Case No. 3:18-cv-00292-RS
                                                       )
13                                        Plaintiff,   )   STIPULATION AND [PROPOSED] ORDER
                                                       )   TO EXTEND CURRENTLY-SET
14                     vs.                             )   DEADLINES IN DISCOVERY ORDER
                                                       )
15   PHILLIPS 66 COMPANY,                              )
                                                       )
16                                      Defendant.     )
                                                       )
17

18            Plaintiff DEAN A. ROBBINS (“Plaintiff” or “Mr. Robbins”) and Defendant PHILLIPS 66
19   COMPANY (“Defendant” or “Phillips 66”) (collectively, the “Parties”) by and through their
20   respective counsel of record, hereby stipulate and agree as follows:
21            WHEREAS, on November 27, 2017, Plaintiff filed this lawsuit in the San Francisco Superior
22   Court;
23            WHEREAS, on January 12, 2018, Defendant removed the action to this Court;
24            WHEREAS, on May 17, 2018, the Court set the current class certification briefing schedule:
25   Plaintiff’s Motion for Class Certification due by March 13, 2019; Defendant’s Opposition to Motion
26   for Class Certification due by April 17, 2019; Plaintiff’s Reply to Defendant’s Opposition to Motion
27   for Class Certification due by May 1, 2019; and hearing on Plaintiff’s Motion for Class Certification
28   on May 23, 2019 at 1:30 p.m.;
                                                        -1-
     STIPULATION AND [PROPOSED] ORDER TO EXTEND CURRENTLY-SET DEADLINES IN
     DISCOVERY ORDER - Case No. 3:18-cv-00292-RS
     KYL4823-4176-6021.1
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1             WHEREAS, on December 6, 2018 the Parties submitted a joint letter brief regarding a dispute

2    relating to class-wide pre-certification discovery;

3             WHEREAS, on December 10, 2018 the Court ordered a telephonic discovery hearing on

4    December 14, 2018 to address discovery issues with the Honorable Magistrate Judge Thomas S.

5    Hixson;

6             WHEREAS, on December 14, 2018 the Parties participated in a telephonic discovery hearing

7    before Judge Hixson;

8             WHEREAS, on December 17, 2018 Judge Hixson issued a Discovery Order directing, in part,

9    that Defendant file by January 7, 2019 detailed declarations describing the burden of producing certain

10   information and/or documents as specified in the Order, and also scheduling a January 9, 2019

11   telephonic hearing to further discuss the issue of burden with respect to a number of Plaintiff’s

12   discovery requests (among other items);

13            WHEREAS, on December 21, 2018 the Parties submitted a joint scheduling stipulation

14   seeking the following modified class certification briefing schedule: Plaintiff’s Motion for Class
15   Certification due by September 19, 2019; Defendant’s Opposition to Motion for Class Certification
16   due by October 31, 2019; Plaintiff’s Reply to Defendant’s Opposition to Motion for Class
17   Certification due by November 14, 2019; and hearing on Plaintiff’s Motion for Class Certification on
18   December 12, 2019 at 1:30 p.m.;
19            WHEREAS, on January 2, 2019 the Court issued an Order granting the Parties’ December 21,

20   2018 stipulation granting a six-month extension for Plaintiff to file his motion for class certification

21   (“six month extension”);

22            WHEREAS, due to unavailability of witnesses since the Order was issued on December 17,

23   2018 and the six-month extension granted by Judge Seeborg for Plaintiff to file his motion for class

24   certification, Plaintiff agrees to a three-week extension of all of the deadlines currently set forth in

25   Judge Hixson’s Order;

26            WHEREAS, in light of the foregoing, the Parties agree that good cause exists to extend the

27   deadline for Defendant to file its declarations as ordered in Judge Hixson’s December 17, 2018

28   Discovery Order.
                                              -2-
     STIPULATION AND [PROPOSED] ORDER TO EXTEND CURRENTLY-SET DEADLINES IN
     DISCOVERY ORDER - Case No. 3:18-cv-00292-RS
     KYL4823-4176-6021.1
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1             WHEREAS, in light of the foregoing, the Parties agree that good cause exists to extend the

2    deadline for Defendant to file its declarations as ordered in Judge Hixson’s December 17, 2018

3    Discovery Order.

4             The Parties stipulate to the following:

5             1.       Defendant’s deadline to file its declarations regarding burden is moved from January 7,

6    2019 to January 28, 2019.

7             2.       Plaintiff’s deadline to respond to the declarations is moved from January 8, 2019 to

8    January 30, 2019;

9             3.       The telephonic hearing scheduled for January 9, 2019 is moved to February 1, 2019 at

10   10:00 a.m. Counsel shall call the following phone number: 1-888-684-8852/Access Code: 2925506.

11            4.       With respect to Interrogatory No. 1, all deadlines are extended by three weeks.

12            5.       The deadline for Phillips to serve amended responses to the other interrogatories where

13   the Court orders a response is extended from January 31, 2019 to February 21, 2019.

14            IT IS SO STIPULATED.
15

16   DATED: January 7, 2019                                 SETAREH LAW GROUP
17                                                           /s/ Thomas Segal ______________________
                                                            SHAUN SETAREH
18                                                          THOMAS SEGAL
                                                            FARRAH GRANT
19                                                          ASHLEY N. BASITSE
                                                            Attorneys for Plaintiff
20                                                          DEAN A. ROBBINS
21

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23   DATED: January 7, 2019                                 KEESAL, YOUNG & LOGAN
24                                                           /s/ Ian Ross   __________________________
                                                            LISA M. BERTAIN
25                                                          IAN ROSS
                                                            KEESAL, YOUNG & LOGAN
26                                                          Attorneys for Defendant
                                                            PHILLIPS 66 COMPANY
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     STIPULATION AND [PROPOSED] ORDER TO EXTEND CURRENTLY-SET DEADLINES IN
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2                                           FILER’S ATTESTATION:

3             Pursuant to Civil Local Rule 5-1 (i)(3), I hereby attest that concurrence in the filing of this

4    document has been obtained.

5

6    DATED: January 7, 2019                                  KEESAL, YOUNG & LOGAN

7                                                             /s/ Ian Ross   __________________________
                                                             LISA M. BERTAIN
8                                                            IAN ROSS
                                                             KEESAL, YOUNG & LOGAN
9                                                            Attorneys for Defendant
                                                             PHILLIPS 66 COMPANY
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     STIPULATION AND [PROPOSED] ORDER TO EXTEND CURRENTLY-SET DEADLINES IN
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1                                          [PROPOSED] ORDER

2             Pursuant to the Parties’ stipulation, and good cause being shown, IT IS SO ORDERED.

3

4            January 7, 2019
     DATED: ______________________                       ____________________________________
                                                       HONORABLE JUDGE HIXSON
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     STIPULATION AND [PROPOSED] ORDER TO EXTEND CURRENTLY-SET DEADLINES IN
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